             Case 16-17726-elf                    Doc          Filed 12/11/18 Entered 12/11/18 17:48:07                               Desc Main
                                                                Document     Page 1 of 6
 Fill in this information to identify the case:

  Debtor 1        Cherly A Vaughn-Curry aka Cherly B Curry aka Cherly Curry aka Cherly Vaugn

  Debtor 2

 United States Bankruptcy Court for the: Eastern District of Pennsylvania

 Case number :     16-17726



Official Form 410S1
Notice of Mortgage Payment Change                                                                                                                      12/15

If the debtor's plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the debtor's
principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form as a supplement to
your proof of claim at least 21 days before the new payment is due. See Bankruptcy Rule 3002.1.
     Name of               BANK OF AMERICA, N.A.                                                         Court claim no.                                       6
     creditor:                                                                                           (if known):
     Last 4 digits of any number                                                                         Date of payment change:                   01/01/2019
     you use to identify the debtor's                                       5430                         Must be at least 21 days after date of
     account:                                                                                            this notice

                                                                                                         New total payment:                         $514.07
                                                                                                         Principal, interest, and escrow, if any


Part 1:      Escrow Account Payment Adjustment

1.   Will there be a change in the debtor's escrow account payment?
      [ ]     No
      [X]        Yes. Attach a copy of the escrow account statement prepared in a form consistent with the applicable nonbankruptcy law.
                       Describe the basis for the change. If a statement is not attached, explain why:

                              Current escrow payment: $225.92                                  New escrow payment: $222.03



Part : 2      Mortgage Payment Adjustment

2. Will the debtor's principal and interest payment change based on an adjustment to the interest rate on the debtor's
   variable-rate account?
      [X]     No
      [ ]     Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If
                   a notice is not attached, explain why:

                      Current interest rate:         %                             New interest rate:          %
                      Current Principal and interest payment: $                    New principal and interest payment: $



Part 3:      Other Payment Change

3. Will there be a change in the debtor's mortgage payment for a reason not listed above?
       [X]       No
       [ ]       Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification
                       agreement. (Court approval may be required before the payment change can take effect).
                       Reason for change:
                              Current mortgage payment: $                                      New mortgage payment: $




Official Form 410S1                                                 Notice of Mortgage Payment Change                                                          page 1
                Case 16-17726-elf                     Doc     Filed 12/11/18 Entered 12/11/18 17:48:07                          Desc Main
                                                               Document     Page 2 of 6
Debtor 1 Cherly A Vaughn-Curry aka Cherly B Curry aka Cherly Curry                  Case number (if known)           16-17726
aka Cherly Vaugn
                First Name              Middle Name          Last Name




Part 4:           Sign Below

 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.

Check the appropriate box:

[ ]      I am the creditor.

[X]      I am the creditor's attorney or authorized agent.


I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
knowledge, information, and reasonable belief.


     /s/ Julian Cotton                                                                           12/11/2018
                                                                                          Date
    Signature



Print:                       Julian Cotton                                     Title Authorized Agent for Creditor

Company                      Padgett Law Group

Address                      6267 Old Water Oak Road, Suite 203

                             Tallahassee FL, 32312

Contact phone                (850) 422-2520                 Email              bkcrm@padgettlaw.net




Official Form 410S1                                                 Notice of Mortgage Payment Change                                       page 2
        Case 16-17726-elf      Doc     Filed 12/11/18 Entered 12/11/18 17:48:07            Desc Main
                                        Document     Page 3 of 6
                                       CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished to the parties

on the attached Service List by electronic service and/or by First Class U.S. Mail on this the 11th day of

December, 2018.



                                                     /S/ Julian Cotton

                                                     ___________________________________
                                                     JULIAN COTTON
                                                     PADGETT LAW GROUP
                                                     6267 Old Water Oak Road, Suite 203
                                                     Tallahassee, FL 32312
                                                     (850) 422-2520 (telephone)
                                                     (850) 422-2567 (facsimile)
                                                     bkcrm@padgettlaw.net
                                                     Authorized Agent for Creditor




Official Form 410S1                       Notice of Mortgage Payment Change                                  page 3
          Case 16-17726-elf    Doc   Filed 12/11/18 Entered 12/11/18 17:48:07   Desc Main
                                      Document     Page 4 of 6

                                SERVICE LIST (CASE NO. 16-17726)

Debtor
Cherly A Vaughn-Curry
1341 Farrington Rd.
Philadelphia, PA 19151
aka Cherly B Curry
aka Cherly Curry
aka Cherly Vaugn


Debtor’s Attorney
ALFONSO G. MADRID
Law Office of Alfonso Madrid
757 S. 8th St.
Philadelphia, PA 19147


Trustee
WILLIAM C. MILLER, Esq.
Chapter 13 Trustee
P.O. Box 1229
Philadelphia, PA 19105


U.S. Trustee
United States Trustee
Office of the U.S. Trustee
833 Chestnut Street
Suite 500
Philadelphia, PA 19107




Official Form 410S1                  Notice of Mortgage Payment Change                      page 4
Case 16-17726-elfCARRINGTON
                      Doc MORTGAGE
                             FiledSERVICES,
                                    12/11/18LLC  Entered 12/11/18 17:48:07                                                        Desc Main
               P.O. Box 5001
                               Document
               Westfield, IN 46074              Page 5 of 6
     (800) 561-4567           FAX: (949) 517-5220




                                                                                                                                         ÍÔÓÎ ìðððíïëìíð




    CHERLY B CURRY                                                                YOUR LOAN NUMBER :
    1341 FARRINGTON RD
                                                                                  DATE: 10/19/18
    PHILADELPHIA                   PA 19151




     ööö ßÒÒËßÔ ÛÍÝÎÑÉ ßÝÝÑËÒÌ Ü×ÍÝÔÑÍËÎÛ ÍÌßÌÛÓ ÛÒÌ ó ÔßÍÌ ÝÇ ÝÔÛÍ ÛÍÝÎÑÉ ßÝÝÑËÒÌ Ø×ÍÌÑÎÇ                                  ööö

     THIS HISTORY STATEMENT COMPARES YOUR PRIOR ANALYSIS CYCLE PROJECTED ESCROW ACTIVITY TO THE
     ACTUAL ESCROW ACTIVITY BEGINNING JANUARY, 2018 AND ENDING DECEMBER, 2018. IF YOUR LOAN
     WAS PAID-OFF, ASSUMED, OR TRANSFERRED DURING THIS PRIOR CYCLE, OR THE COMPUTATION YEAR IS
     BEING CHANGED, ACTUAL ACTIVITY STOPS AT THAT POINT. THIS STATEMENT IS INFORMATIONAL ONLY
     AND REQUIRES NO ACTION ON YOUR PART.
                                ó ó ó Ç Ñ ËÎ Ð ßÇ Ó Û Ò Ì Þ Î Û ßÕ Ü ÑÉ Ò ßÍ Ñ Ú ÖßÒ ËßÎ Çô î ð ïè × Í óó ó
                                PRIN & INTEREST                                   292.04
                                ESCROW PAYMENT                                    225.92
                                TOTAL                                             517.96
                 óó ÐßÇÓÛÒÌÍ ÌÑ ÛÍÝÎÑÉ óó      óó ÐßÇÓÛÒÌÍ ÚÎÑÓ ÛÍÝÎÑÉ óó                  óó ÛÍÝÎÑÉ ÞßÔßÒÝÛ óó
     ÓÑÒÌØ       ÐÎ×ÑÎ ÐÎÑÖÛÝÌÛÜ ßÝÌËßÔ ÐÎ×ÑÎ ÐÎÑÖÛÝÌÛÜ ÜÛÍÝÎ×ÐÌ×ÑÒ     ßÝÌËßÔ ÜÛÍÝÎ×ÐÌ×ÑÒ ÐÎ×ÑÎ ÐÎÑÖÛÝÌÛÜ ßÝÌËßÔ
                                                               STARTING BALANCE  = = = >    2485.12      1347.92-
     JAN           225.92 *     217.07                                                      2711.04      1130.85-
     FEB           225.92 *     217.07     1356.69     CITY TAX       1356.69 CITY TAX      1580.27      2270.47-
     MAR           225.92 *     434.14     1354.35 * HAZARD INS       1307.72 HAZARD INS      451.84 TLP 3144.05- ALP
     APR           225.92 *     217.07                                                        677.76     2926.98-
     MAY           225.92 *     211.97                                                        903.68     2715.01-
     JUN           225.92 *                                                                 1129.60      2715.01-
     JUL           225.92 *     423.94                                                      1355.52      2291.07-
     AUG           225.92 *     211.97                                                      1581.44      2079.10-
     SEP           225.92 *     423.94                                                      1807.36      1655.16-
     OCT           225.92 *     211.97                                                      2033.28      1443.19-
     NOV           225.92              E                                                    2259.20      1443.19-
     DEC           225.92              E                                                    2485.12      1443.19-
     TOT          2711.04      2569.14      2711.04                   2664.41
     UNDER FEDERAL LAW, WHEN YOUR ACTUAL ESCROW BALANCE REACHES ITS LOWEST POINT, THAT BALANCE IS TARGETED
     NOT TO EXCEED 1/6TH OF THE ANNUAL PROJECTED DISBURSEMENTS. YOUR LOAN DOCUMENTS OR STATE LAW MAY
     SPECIFY THAT YOUR LOWEST BALANCE MUST BE A LOWER AMOUNT THAN THE FEDERAL LAW ALLOWS.
     UNDER YOUR MORTGAGE CONTRACT OR STATE OR FEDERAL LAW, YOUR TARGETED LOW POINT ESCROW BALANCE
     (TLP) WAS $451.84. YOUR ACTUAL LOW POINT ESCROW BALANCE (ALP) WAS $3,144.05-.
     BY COMPARING THE PROJECTED ESCROW TRANSACTIONS WITH THE ACTUAL TRANSACTIONS YOU CAN
     DETERMINE WHERE A DIFFERENCE MAY HAVE OCCURRED. AN ASTERISK (*) INDICATES A DIFFERENCE IN EITHER THE
     AMOUNT OR DATE OF THE PROJECTED ACTIVITY AND THE ACTUAL ACTIVITY.
     THE LETTER "E" BESIDE AN AMOUNT INDICATES THAT THE PROJECTED ACTIVITY HAS NOT YET OCCURRED DUE TO THE
     DATE OF THIS STATEMENT.
     IF THERE ARE NO PRIOR PAYMENTS TO OR FROM ESCROW SHOWN, THERE WAS NO PRIOR PROJECTION
     TO WHICH THE ACTUAL ACTIVITY COULD BE COMPARED.
     Your projected escrow balance consists of the following detail (an * next to an amount
     indicates this is a total that represents more than one payment to or disbursement from escrow):

     Û ­½®± © °¿§ ³»²¬­ «° ¬± »­½® ±© ¿²¿´ §­· ­ »ºº» ½¬· ª » ¼¿ ¬»æ
     04/16               $217.07          05/16         $217.07           06/16        $4,058.03     *




                öö ö    ßÒÒËßÔ ÛÍÝÎÑÉ ßÝÝÑËÒÌ Ü×ÍÝÔÑÍËÎÛ ÍÌßÌÛÓÛÒÌ ó ÐÎÑÖÛÝÌ×ÑÒÍ                              öö ö
                 PLE ASE REV IEW THI S ST ATE MENT CL OSEL Y - YOU R M ORTG AGE PAY MEN T MA Y B E AF FEC TED.
     T HIS STA TEME NT TELL S Y OU O F A NY C HAN GES IN YOUR MO RTGA GE PAYM ENT , AN Y S URPL US REFU NDS , OR
     A NY S HOR TAGE OR DEF ICI ENCY TH AT Y OU MUST PA Y. I T A LSO SHO WS Y OU THE PRO JECT ED ESCR OW
     A CTIV ITY FOR YO UR E SCR OW C YCL E BE GIN NING JA NUAR Y, 2 019 AND END ING DEC EMB ER, 2 019.
     óóóóóóóóóóóóóóóóóóóóó   ÐÎÑÖÛÝÌ ÛÜ ÐßÇ ÓÛÒÌÍ ÚÎÑÓ ÛÍÝÎÑÉ ó ÖßÒËßÎÇô îðïç ÌØÎÑËÙØ ÜÛÝÛÓÞÛÎô îðïç                    óóóóóóóóóóóóóó
                                HAZARD INSURANC                     1,307.72
                                CITY TAX                            1,356.69

                                TOTAL                                             2,664.41
                                PERIODIC PAYMENT TO ESCROW                          222.03      (1/12 OF "TOTAL FROM ESCROW")

     óóóóóóóóóóóóóóóóóóóó ÐÎÑÖÛ ÝÌ Û Ü ÛÍ ÝÎÑÉ ßÝÌ ×Ê ×Ì Ç ó ÖßÒËßÎÇô î ðïç ÌØÎÑËÙØ ÜÛÝÛ Ó ÞÛÎô îð ïç óóóóóóóóóóóóóóóóóóóóóóó
                    óóóó ÐÎÑÖÛÝÌÛÜ ÐßÇ ÓÛÒÌÍ óó                                óó ÛÍÝÎÑÉ ÞßÔßÒÝÛ ÝÑÓ ÐßÎ×ÍÑÒ óó
     ÓÑÒÌØ          ÌÑ ÛÍÝÎÑÉ         ÚÎÑÓ ÛÍÝÎÑÉ        ÜÛÍÝÎ×ÐÌ×ÑÒ         ÐÎÑÖÛÝÌÛÜ        ÎÛÏË×ÎÛÜ
                                       ACTUAL STARTING BALANCE = = = >         2,539.67        2,442.38
     JAN,19          222.03                                                    2,761.70        2,664.41
     FEB,19          222.03             1,356.69     CITY TAX                  1,627.04        1,529.75
     MAR,19          222.03             1,307.72     HAZARD INSURANC              541.35 ALP     444.06 RLP
     APR,19          222.03                                                       763.38         666.09
     MAY,19          222.03                                                       985.41         888.12
     JUN,19          222.03                                                    1,207.44        1,110.15
     JUL,19          222.03                                                    1,429.47        1,332.18
     AUG,19          222.03                                                    1,651.50        1,554.21
     SEP,19          222.03                                                    1,873.53        1,776.24
     OCT,19          222.03                                                    2,095.56        1,998.27
     NOV,19          222.03                                                    2,317.59        2,220.30
     DEC,19          222.03                                                    2,539.62        2,442.33


                                               ö ö ö ö ÝÑÒÌ×ÒËÛÜ ÑÒ ÒÛÈÌ ÐßÙÛ ö ö ö ö
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     IF THE PROJECTED LOW POINT BALANCE (ALP) IS
     GREATER THAN THE REQUIRED LOW POINT BALANCE (RLP) ,
     THEN YOU HAVE AN ESCROW SURPLUS....                                         YOUR ESCROW SURPLUS IS....                 97.29 *


     AT THE TIME OF YOUR BANKRUPTCY FILING, YOUR ESCROW SHORTAGE INCLUDED IN THE POC (PROOF OF CLAIM) IS $0.00.

     *The statement assumes all past due payments have been made toward your loan. If there are past due payments,
     this amount may not be accurate.
     PLE ASE CAL L T HE A BOV E PH ONE NUM BER REG ARD ING YOU R SU RPLU S.

     óóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóó ÝßÔÝËÔßÌ×ÑÒÍ ÑÚ Ç ÑËÎ ÒÛÉ ÐßÇ ÓÛÒÌ ßÓÑËÒÌ óóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóóó
                               PRIN & INTEREST                               292.04 *
                               ESCROW PAYMENT                                222.03
     BORROWER PAYMENT STARTING WITH THE PAYMENT DUE           01/01/19      ==>            514.07

     * IF YOUR LOAN IS AN ADJUSTABLE RATE MORTGAGE, THE PRINCIPAL & INTEREST PORTION OF
       YOUR PAYMENT MAY CHANGE WITHIN THIS CYCLE IN ACCORDANCE WITH YOUR LOAN DOCUMENTS.
     NOTE :       YO UR ESCR OW BALA NCE MAY CO NTAI N A CUS HION . A CUS HIO N IS AN AMO UNT OF MON EY
                  HE LD IN Y OUR ESC ROW ACC OUN T TO PR EVEN T YO UR ESCR OW BALA NCE FRO M B EING OV ERDR AWN
                  WH EN INCR EAS ES I N T HE D ISB URSE MEN TS O CCUR . F EDER AL LAW AUT HORI ZES A M AXI MUM
                  ES CRO W CU SHI ON N OT TO E XCE ED 1 /6T H OF THE TO TAL ANN UAL PRO JECT ED ESCR OW
                  DI SBU RSEM ENT S MA DE DURI NG THE ABO VE C YCLE . T HIS AMO UNT IS $451 .84.
                  YO UR LOAN DO CUME NTS OR STA TE L AW MAY REQU IRE A L ESS ER C USH ION. YO UR M ORT GAGE
                  CO NTR ACT AND STA TE LAW ARE SIL ENT ON THIS IS SUE. WH EN Y OUR ESC ROW BAL ANC E
                  RE ACH ES I TS LOWE ST POIN T D URIN G T HE A BOVE CY CLE, TH AT B ALA NCE IS TARG ETE D
                  TO BE YOU R C USHI ON AMOU NT.
                  YO UR ESCR OW CUSH ION FOR TH IS C YCL E IS $44 4.0 6.
      YOUR PROJECTED ESCROW BALANCE CONSISTS OF THE FOLLOWING DETAIL (AN * NEXT TO AN AMOUNT INDICATES
      THIS IS A TOTAL THAT REPRESENTS MORE THAN ONE PAYMENT TO OR DISBURSEMENT FROM ESCROW):

      Û ­ ½® ±© °¿§ ³»²¬­ «° ¬± »­½® ±© ¿²¿´ §­ ·­ »ºº» ½¬· ª » ¼¿ ¬»æ
      07/17         $211.97            08/17             $211.97              09/17        $3,558.92*


     ×ÓÐÑÎÌßÒÌ ÞßÒÕÎËÐÌÝÇ ÒÑÌ×ÝÛ
     If you hav e been dischar ged from perso nal liability o n the mortgage because of ba nkruptcy
     proceeding s and have not reaffirmed th e mortgage, or if you are the subject of a pending
     bankruptcy proceeding, t his letter is not an attempt to collect a d ebt from you b ut merely
     provides i nformational n otice regardin g the status of the loan.   If you are repre sented by
     an attorne y with respect to your mortg age, please for ward this docu ment to your a ttorney.
     ÝÎÛÜ×Ì ÎÛÐÑÎÌ×ÒÙ
     We may rep ort informatio n about your a ccount to credi t bureaus. Lat e payments, mi ssed payments ,
     or other d efaults on you r account may be reflected in your credit r eport.    As req uired by law,
     you are he reby notified that a negativ e credit report reflecting on your credit r ecord may be
     submitted to a credit re porting agency if you fail to fulfill the t erms of your c redit
     obligation s.
     Ó×Ò× Ó×ÎßÒÜß
     This commu nication is fr om a debt coll ector and it is for the purpo se of collecti ng a debt and
     any inform ation obtained will be used for that purpos e. This notice is required b y the
     provisions of the Fair D ebt Collection Practices Act and does not i mply that we a re attempting
     to collect money from an yone who has d ischarged the d ebt under the bankruptcy law s of the
     United Sta tes.
     ØËÜ ÝÑËÒÍÛ ÔÑÎ ×ÒÚ ÑÎÓ ßÌ × ÑÒ
     If you wou ld like co unse lin g or as sist anc e, y ou may obta in a li st of H UD- appr ove d ho meo wner shi p
     cou nse lors or cou nse ling or gani zat ions in you r a rea by c all ing the HUD na tion wid e to ll- free
     tel eph one num ber at (800 ) 5 69-4 287 or tol l-fr ee TDD (800 ) 8 77-8 339 , or by goi ng to
     htt p:/ /www .hu d.go v/o ffic es/ hsg/ sfh /hcc /hc s.cf m. You can als o co nta ct t he CFPB at (85 5) 411- 237 2, or
     by goi ng t o w ww.c ons umer fin ance .go v/fi nd- a-ho usi ng-c ouns elo r.
     ÛÏËßÔ ÝÎÛÜ×Ì ÑÐÐÑÎÌËÒ×ÌÇ ßÝÌ ÒÑÌ×ÝÛ
     The Federa l Equal Credit Opportunity A ct prohibits cr editors from d iscriminating against credi t
     applicants on the basis of race, color , religion, nat ional origin, sex, marital s tatus, or age
     (provided the applicant has the capaci ty to enter int o a binding co ntract); becau se all or par t
     of the app licant’s incom e derives from any public ass istance progra m; or because the applicant
     has, in go od faith, exer cised any righ t under the Con sumer Credit P rotection Act. The Federal
     Agency tha t administers CMS’ complianc e with this law is the Federa l Trade Commis sion, Equal
     Credit Opp ortunity, Wash ington, DC 205 80.
